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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Michael E. Hegarty

  Civil Action No: 14-cv-2887-JLK-MEH                       Date: January 21, 2020
  Courtroom Deputy: Christopher Thompson                    FTR: Courtroom A 1002

   Parties:                                           Counsel:

   ALEJANDRO MENOCAL,                                 Juno Turner
   MARCOS BRAMBILA,                                   David Seligman
   GRISEL XAHUENTITLA,                                Michael Scimone
   HUGO HERNANDEZ,                                    Andrew Turner
   LOURDES ARGUETA,
   JESUS GAYTAN,
   OLGA ALEXAKLINA,
   DAGOBERTO VIZGUERRA,
   DEMETRIO VALERGA,

        Plaintiff,

   v.

   GEO GROUP, INC., THE,                              Allison Angel
                                                      Colin Barnacle

        Defendant.

                                  COURTROOM MINUTES
                                 DISCOVERY CONFERENCE

  Court in session:     1:33 p.m.

  Court calls case. Appearances of counsel. The parties meet and discuss discovery disputes with
  the Court’s rulings made on the record. Timothy Jafek of the United States Attorney’s Office
  appears on behalf of the United States in reference to the discussion held regarding a Touhy
  request.


  ORDERED: Within fourteen (14) days Defendant shall respond to the all document requests
           and interrogatories in question as stated on the record and identify who will be put
           forward in reference to the 30(b)(6) requests and the Touhy request. Within the
           same two (2) week time frame, Defendants shall complete Plaintiff’s document
           request in relation to the question of the differing inmate wage/payment rates
           between facilities as stated on the record.
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  Court in recess:          2:28 p.m.        Hearing concluded.
  Total in-court time:      0:55
  *To obtain a transcript of this proceeding, please contact Patterson Transcription Company at (303) 755-4536 or AB
  Court Reporting & Video, Inc. at (303) 629-8534.




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